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                           UNITED STATES DISTRICT COURT
9                        SOUTHERN DISTRICT OF CALIFORNIA
10
      FELIPE MAGALLON                      ) Case No. 17-cv-01515-L-WVG
11                                         )
                   Plaintiff,              )
12
                                           )
13           v.                            ) ORDER OF DISMISSAL
                                           )
14
      AMERICAN EXPRESS BANK                )
15                                         )
                                           )
16
                   Defendants.             )
17    ____________________________________ )
18
           Pursuant to Federal Rule of Civil Procedure 41(a), Plaintiff's Motion to Dismiss
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     is granted. This action is dismissed with prejudice. Each party shall bear his or its own
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     costs and expenses.
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           IT IS SO ORDERED.
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     Dated: November 13, 2017
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                                     ORDER OF DISMISSAL
